
By the Court,
(Cox, J.)
It is admitted that if Mrs. Hayes had herself planted and cultivated the crop, she or her executor would have been entitled to gather it without any liability to West, or any other owner of the reversion. But it is contended that inasmuch as the land was rented for money rent, although for the express purpose of raising thereon a crop of corn, the rent should be divided proportionately between the executor of the tenant for life and the reversioner. By the common law, when the tenant for life died during the term of the renting, neither party could recover any portion of the rent. This has since been changed in England and some of the states by statute, so that the rent is apportioned among such claimants. But we have no statute in Ohio on the subject, and if we were to hold as by the common law, the tenant would not be liable to either party, and neither could recover from him any part of the rent by an action. Applying the rule of the common law (and we know of no other here), neither the executor, nor West could have recovered any portion of the rent from Moses Hayes. But as Moses Hayes voluntarily paid it to the executor, it is in his hands as if it were in the hands of Moses, and the delivery of it to the executor was without any intention, so far as appears, to give West or any other party an interest.
The judgment will therefore be reversed, and judgment rendered here for the defendant.
